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            EXHIBIT T
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    UNITED STATES DISTRICT COURT
    DISTRICT OF MASSACHUSETTS
    - -     -       -       -       -        -   -       -       -       -       -   -       -    -       - x
    GIGI KAI ZI CHAN,
                            Plaintiff,
                                                                     Civil Action No.
                                                                     1:19-CV-11605-WGY
                    -against-
    WELLINGTON MANAGEMENT COMPANY LLP and CHARLES
    ARGYLE,
                            Defendants.
    -   -       -       -       -       -    -       -       -       -       -   -       -    -       -    - x


                                            November 9, 2020
                                            10:16        a.m.


        VIDEO CONFERENCE EXAMINATION BEFORE TRIAL
    of RAY UGENE HELFER, a non-party witness
    herein, taken by MR. LEBLANC, in the
    above-entitled action, held at the above time
    and place, pursuant to Subpoena, taken before
    CHRISTA M. MILOSCIA, a Shorthand Reporter and
    Notary Public within and for the State of
    New York.
                                Magna Legal Services
                                             (866)624-6221
                                        www.MagnaLS.com
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 1
 2   A P P E A R A N C E S:
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 7            Attorneys for Defendant
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10       JACKSON & LEWIS
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11            666 Third Avenue
              New York, New York 10017
12       BY: STEPHEN PATERNITI, ESQ.
13
14
15
16
17
18
19
20
21
22
23
     ALSO PRESENT:
24   SARAH WALSH - JACKSON & LEWIS ASSOCIATE
25
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 1
 2                 S T I P U L A T I O N S
 3       IT IS STIPULATED AND AGREED by and between
 4   the attorneys for the respective parties
 5   herein, and in compliance with Rule 221 of the
 6   Uniform Rules for the Trial Courts:
 7       THAT the parties recognize the provision of
 8   Rule 3115 subdivisions (b), (c) and/or (d).
 9   All objections made at a deposition shall be
10   noted by the officer before whom the
11   deposition is taken, and the answer shall be
12   given and the deposition shall proceed subject
13   to the objections and to the right of a person
14   to apply for appropriate relief pursuant to
15   Article 31 of the CPLR;
16       THAT every objection raised during a
17   deposition shall be stated succinctly and
18   framed so as not to suggest an answer to the
19   deponent and, at the request of the
20   questioning attorney, shall include a clear
21   statement as to any defect in form or other
22   basis of error or irregularity.           Except to the
23   extent permitted by CPLR Rule 3115 or by this
24   rule, during the course of the examination
25   persons in attendance shall not make
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 1
 2   statements or comments that interfere with the
 3   questioning.
 4       THAT a deponent shall answer all questions
 5   at a deposition, except (i) to preserve a
 6   privilege or right of confidentiality, (ii) to
 7   enforce a limitation set forth in an order of
 8   a court, or (iii) when the question is plainly
 9   improper and would, if answered, cause
10   significant prejudice to any person.            An
11   attorney shall not direct a deponent not to
12   answer except as provided in CPLR Rule 3115 or
13   this subdivision.       Any refusal to answer or
14   direction not to answer shall be accompanied
15   by a succinct and clear statement on the basis
16   therefore.     If the deponent does not answer a
17   question, the examining party shall have the
18   right to complete the remainder of the
19   deposition.
20       THAT an attorney shall not interrupt the
21   deposition for the purpose of communicating
22   with the deponent unless all parties consent
23   or the communication is made for the purpose
24   of determining whether the question should not
25   be answered on the grounds set forth in
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 1
 2   Section 221.2 of these rules, and, in such
 3   event, the reason for the communication shall
 4   be stated for the record succinctly and
 5   clearly.
 6       THAT the failure to object to any question
 7   or to move to strike any testimony at this
 8   examination shall not be a bar or waiver to
 9   make such objection or motion at the time of
10   the trial of this action, and is hereby
11   reserved; and
12       THAT this examination may be signed and
13   sworn to by the witness examined herein before
14   any Notary Public, but the failure to do so or
15   to return the original of the examination to
16   the attorney on whose behalf the examination
17   is taken, shall not be deemed a waiver of the
18   rights provided by Rules 3116 and 3117 of the
19   C.P.L.R, and shall be controlled thereby; and
20       THAT the certification and filing of the
21   original of this examination are hereby
22   waived; and
23       THAT the questioning attorney shall provide
24   counsel for the witness examined herein with a
25   copy of this examination at no charge.
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                                                                   Page 107
 1                       R. HELFER
 2    was ongoing frustration that we weren't
 3    quite tapping into that demand, meaning
 4    some of that expressed desired didn't
 5    necessarily translate into mandates for
 6    us, but I wasn't that close to what
 7    people had established as a goal and
 8    what actually transpired as to the
 9    clients in the U.S. market and China
10    strategy.
11         Q. And that frustration, where did
12    you hear that from?        Was that from
13    GRG or was that from --
14         A. You broke up a bit.
15         Q. That frustration that you
16    referred to, where did you hear that
17    from?    Did you hear that from GRG
18    people or from investors or both?
19         A. So both.
20         Q. And who were the investors you
21    heard that from?
22         A. Bo Meunier.
23         Q. Anyone else?
24         A. Not that I recall, no.
25         Q. What do you recall about
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                                                                   Page 108
 1                       R. HELFER
 2    Ms. Meunier expressing that frustration
 3    to you?
 4           A. She expressed frustration to me
 5    that my colleagues, i.e. GRG, behind
 6    the word "my," my colleagues in the
 7    U.S. had asked her for several days for
 8    marketing trips and the quality of the
 9    meetings was below what she was
10    expecting, because most of the
11    prospects didn't seem to have been far
12    enough in their thinking about
13    investing in China to have warranted
14    her travel and time, given how busy she
15    was.     She was disappointed with the
16    quality and the place the prospects
17    were at the time she was asked to
18    engage with them.
19           Q. How did you respond to that?
20           A. I responded by letting her know
21    that in the U.S., building the seeds
22    and laying the pipe for people's
23    understanding of China is something we
24    really need to do before people will
25    commit to China, and while I appreciate
